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                     UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF OREGON

DEANNA SUAREZ,                           )   Case No.: 3:19-cv-01309-MK
                                         )
                                         )   ORDER AWARDING EQUAL
             Plaintiff,                  )   ACCESS TO JUSTICE ACT
                                         )   ATTORNEY FEES AND EXPENSES
    vs.                                  )   PURSUANT TO 28 U.S.C. § 2412(d)
ANDREW SAUL,                             )   AND COSTS PURSUANT TO 28
Commissioner of Social Security,         )   U.S.C. § 1920
                                         )
                                         )
             Defendant                   )
                                         )


      Based upon the parties’ Stipulation for the Award and Payment of Equal
Access to Justice Act Fees, Costs, and Expenses:
      IT IS ORDERED that fees and expenses in the amount of $6,446.00 as
authorized by 28 U.S.C. § 2412, and no costs authorized by 28 U.S.C. § 1920, be
awarded subject to the terms of the Stipulation.
DATE: 10/16/2020
                             s/ Mustafa T. Kasubhai
                            ___________________________________
                            THE HONORABLE MUSTAFA T. KASUBHAI
                            UNITED STATES MAGISTRATE JUDGE
